      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 1 of 43 PageID #:1




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS

   MARK MAXSON,                                      )
                              Plaintiff,             )
           vs.                                       )
                                                     )
   JAMES DWYER, JOHN DUFFY,                          )     No.
   WILLIAM MARLEY, ANGELO                            )
   PESAVENTO, and the CITY OF CHICAGO,               )
                                                     )
                             Defendants.             )

                                             COMPLAINT

           NOW COMES the Plaintiff, MARK MAXSON, by and through his attorneys,

ELLIOT R. ZINGER, Esq., and LARRY M. DREYFUS, Esq., and presents his Complaint

pursuant to 28 U.S.C. § 1983, and in support thereof, states as follows:

                                           INTRODUCTION

       Mark Maxson has spent the past 24 years in prison because of the egregious and criminal

conduct of Chicago Police officers who worked under the supervision, direction and command of

Jon Burge at Area 2 Headquarters in Chicago. Mark Maxson is one of hundreds of African

American men in Chicago who were tortured into giving false confessions by Burge era officers.

The pattern and practice of torture was so widespread and pervasive that it is has been, in the

words of Federal District Court Judge Milton Shadur, “common knowledge” (for now decades).

See infra, United States ex rel. Maxwell v. Gilmore, 37 F. Supp. 2d 1078, 1094 (N.D. Ill. 1999).

Stories of exoneration of such torture victims have appeared in the media so frequently that

many of us have become desensitized to their impact upon us as a civilized society as well as to




                                              1!
      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 2 of 43 PageID #:2




their historical significance. Even amidst all of these highly publicized exoneration cases, Mark

Maxson’s case is both unique and quite simply, astonishing.

       In 1994, Mark Maxson was convicted of the brutal stabbing murder and sexual assault of

6 year old Lindsey Murdock based upon a false confession that was forcefully extracted from

him at Area 2 headquarters. That storyline we have heard before. What makes Maxson’s case

unique, however, is that he was the one who originally came forward to the police and to the

news media in order to assist in the apprehension of Lindsey’s shockingly violent offender. The

second unique factor in Maxson’s case was that while in the police station “assisting the police”,

a rightfully confused Maxson voluntarily gave blood and hair samples at the request of the

detectives. Then, after allegedly providing vivid details of this horrible crime, Maxson insisted

that it be inserted into “his” court reported statement that he was giving the samples “in order to

clear myself.” Maxson refused to sign the court reported statement. Finally, at Maxson’s trial, the

State’s scientific witnesses testified that the blood and pubic hair samples recovered from the

victim did not match Mark Maxson or the child’s blood or hair. Otherwise stated, the police and

prosecutors were always aware that an unidentified third party was involved in the murder. That,

of course, did not deter them from prosecuting Maxson.

       Amidst rampant publicity and community pressure, the police needed to solve this crime

in order to pretend that they were doing their job and to assure the public that they were now

safe. And like in so many other notorious cases, better to swiftly solve a murder by taking a false

confession from an innocent man than to leave a case open and perhaps forever unsolved. In this

case, a child rapist and killer was left to wander the Chicago streets in the Roseland community

while Mark Maxson languished in custody. Some two years later, the actual murderer struck



                                               2!
      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 3 of 43 PageID #:3




again, brutally stabbing to death another victim in the same community. For decades, police,

prosecutors and public officials were fully aware of this pattern and practice of violence and

injustice towards the African-American community, and did nothing to stop it. To the contrary, in

the face of all of the evidence, many denied, and to this day still deny, that it ever occurred.

        Mark Maxson, through this lawsuit, seeks compensatory and punitive damages for the

grievous injuries inflicted upon him from the persons and public entities responsible for this

horrible miscarriage of justice.


                               I. JURISDICTION AND VENUE

       1. This is a civil rights action brought pursuant to: 42 U.S.C. § 1983 et seq.; the Judicial

Code, 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the United States and supplemental

jurisdiction, as codified in 28 U.S.C. § 1367(a).

       2. This Court has jurisdiction of the action pursuant to 28 U.S.C. § 1331. Venue is proper

under 28 U.S.C. § 1391(b). The parties reside, or, at the time the events took place, formerly

resided in this judicial district, and the events giving rise to the claims asserted herein

                                       II. PARTIES

       3. Plaintiff Mark Maxson is an African-American man, and a citizen of the United States.

       4. Defendant JAMES DWYER was, at all times relevant to this complaint, a duly

appointed and sworn Chicago Police detective who was assigned to the Detective Division at

Area 2 Violent Crimes Unit, who engaged in, and failed to stop, a pattern and practice of torture

and brutality, and who engaged in the conduct complained of in the course and scope of his

employment. He is sued in his individual capacity.




                                                3!
      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 4 of 43 PageID #:4




       5. Defendant JOHN DUFFY was, at all times relevant to this complaint, a duly appointed

and sworn Chicago Police detective who was assigned to the Detective Division at Area 2

Violent Crimes Unit, who engaged in, and failed to stop, a pattern and practice of torture and

brutality, and who engaged in the conduct complained of in the course and scope of his

employment. He is sued in his individual capacity.

       6. Defendant WILLIAM MARLEY was, at all times relevant to this complaint, a duly

appointed and sworn Chicago Police detective who was assigned to the Detective Division at

Area 2 Violent Crimes Unit, who engaged in, and failed to stop, a pattern and practice of torture

and brutality, and who engaged in the conduct complained of in the course and scope of his

employment. He is sued in his individual capacity.

       7. Defendant ANGELO PESAVENTO was, at all times relevant to this complaint, a duly

appointed and sworn Chicago Police detective who was assigned to the Detective Division at

Area 2 Violent Crimes Unit, who engaged in, and failed to stop, a pattern and practice of torture

and brutality, and who engaged in the conduct complained of in the course and scope of his

employment. He is sued in his individual capacity.

       8. Defendant City of Chicago is an Illinois municipal corporation, and as such is

responsible for the policies, practices and customs of the Chicago Police Department, its Office

of Professional Standards, its Personnel Division, its Detective Division, and its Superintendent

of Police, as well as those of the Mayor, his office, and his City Council, the Corporation

Counsel’s Office, and the Chicago Police Board. The City of Chicago is and/or was the employer

of each of the Defendant Officers. The City of Chicago is responsible for the acts of the




                                              4!
       Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 5 of 43 PageID #:5




Defendant Officers while employed by the City of Chicago and while acting within the scope of

their employment.

        9. At all times relevant to this complaint, each of the named Defendants acted in the

scope of his employment, and under the color of the laws, regulations, and customs of the State

of Illinois. The individual Defendants’ actions constituted “state action” as defined under federal

law.

                              III. STATEMENT OF FACTS

        A. IN 1992, PLAINTIFF WAS DETAINED, ARRESTED AND FORCED
       TO CONFESS TO A HORRIBLE SEXUAL ASSAULT AND MURDER
       THAT HE DID NOT COMMIT. BASED SOLELY UPON SUCH FALSE
       CONFESSION, PLAINTIFF WAS CONVICTED AND HAS SPENT THE
       PAST NEAR QUARTER OF A CENTURY INCARCERATED.

        10. On August 31, 1992, Plaintiff was unlawfully seized by detectives of the Chicago

Police Department and detained under color of law and without due process for a period of three

days at the Area 2 Chicago police station at 111th & Ellis in Chicago, Illinois.

        11. It was Plaintiff himself who first contacted the police when he attempted to assist in

the murder investigation of the six (6) year old child/victim Lindsey Murdock. Plaintiff provided

information to a local TV news station covering the story that he had seen the victim the day

before in the neighborhood.

        12. Defendant Detectives Angelo Pesavento and William Marley lured the Plaintiff into

going to the Area 2 Chicago police station at 111th & Ellis, by assuring him that “it wouldn’t

take long.” They had no leads or suspects at that time.




                                               5!
      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 6 of 43 PageID #:6




         13. The detectives involved in Plaintiff’s unlawful seizure, detention and ultimately, his

false and coerced confession, were: William Marley; Angelo Pesavento; James Dwyer and John

Duffy.

         14. Once at the station, Defendants Pesavento and Marley interrogated Plaintiff numerous

times and left him in a locked room.

         15. Defendant, John Duffy, James Dwyer, Angelo Pesavento and William Marley were all

directly involved in the detention and interrogation of the Plaintiff. Duffy and partner Dwyer

interviewed Plaintiff approximately 4-5 times.

         16. Defendant John Duffy threatened Plaintiff in the police station as follows… “Mother-

fucker, if you don’t cooperate with us, we're going to kick your ass.” Det. Pesavento interrogated

Plaintiff shortly after such threats were made by Duffy.

         17. Both Duffy and Dwyer denied Plaintiff’s requests for an attorney and proceeded with

their coercive interrogation.

         18. Defendant James Dwyer was especially instrumental in coercing Plaintiff’s

confession by his repeated threats, slapping, kicking the wind out of him, and ultimately, by

pointing his handgun at the Plaintiff, while he was in custody at Area 2.

         19. Upon information and belief, Detectives John Duffy, Angelo Pesavento and William

Marley were in close proximity to the Plaintiff during his interrogation process and they knew, or

should have known, of the above stated physical abuse endured by Plaintiff. Yet, Duffy,

Pesavento and Marley did nothing to stop such physical abuse.

         20. Defendant Duffy gave false testimony at Plaintiff’s Motion to Suppress Statements,

when he testified that Plaintiff was never threatened with a physical beating. Further, Defendant



                                                6!
      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 7 of 43 PageID #:7




Duffy testified falsely at said Motion that Plaintiff was never kicked, slapped or threatened with

a handgun.

        21. Defendant Pesavento falsely testified at said Motion that Plaintiff was never

threatened or struck before implicating himself in the murder. Defendant Dwyer similarly

testified falsely that Plaintiff was never threatened, struck or assaulted with a handgun. Further,

Dwyer falsely testified that Maxson never requested to leave the police station.

        22. Detectives Dwyer, Duffy, Pesavento and Marley never informed the responding

Assistant State’s Attorneys of the Felony Review Unit of the abuse that was inflicted upon

Plaintiff at Area 2.

        23. Since the time of trial, newly discovered evidence has arisen that Area 2 detectives,

under the supervision of Jon Burge, have documented histories of abusing arrestees in their

custody, and/or knowing of such abuses but remaining silent of the abuses, and/or having taken

the 5th Amendment when called upon to testify concerning these abuses.

        24. This newly discovered evidence documents a pattern and practice by Area 2 Chicago

Police detectives of abusing arrestees, during the Jon Burge reign of terror on the Southside of

Chicago.

        25. These detectives, along with the prosecutors assisting them, when deciding whether

to arrest Plaintiff, were fully aware that Plaintiff added to his confession that he voluntarily

provided hair and blood samples in order, in his own added words… “to clear myself.”

        26. At trial, the State’s forensic experts testified that the Plaintiff’s blood and hair

samples did not match any blood or hairs found on or about the victim.




                                                 7!
      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 8 of 43 PageID #:8




       27. The detectives cited above were fully aware that there was no physical evidence,

eyewitness testimony or even circumstantial evidence against the Plaintiff.

       28. The only evidence against the Plaintiff was his court reported “confession,” which

Plaintiff, in which he added that he was trying to clear himself, and which he refused to sign.

       29. Given the detectives involved in Plaintiff’s interrogation now well documented

history of torturing other suspects during the Jon Burge era, the credibility of Plaintiff’s

“confession” is severely undermined.

       30. Further, the believability of said confession is also severely undermined by Plaintiff

stating in his alleged own “confession” that he had given blood and hair samples because he was

attempting “to clear myself” and in his refusal to sign such court reported document.

       31. Plaintiff has consistently maintained throughout his criminal litigation process for the

last 24 years that the only reason he gave any inculpatory information at the police station was

because he was threatened, assaulted and beaten by the detectives.

       32. Prior to his trial, Plaintiff testified at his Motion to Suppress Statements that he

voluntarily accompanied the detectives to the Area 2 police station but did not wish to remain

there, locked up in a room with only a steel bench for three (3) days.

       33. Defendant Duffy testified falsely at said Motion to Suppress Statements that Plaintiff

willingly spent night(s) in the interview room, although there was no bed or cot to sleep on in

said room. Maxson testified that both Dwyer and Duffy told him he could not leave the station,

regardless he was not under arrest.

       34. Prior to his trial, Plaintiff testified at his Motion to Suppress Statements that he was

beaten and threatened in the manner described in this Complaint.



                                                8!
      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 9 of 43 PageID #:9




       35. Such Motion was denied, largely because the Court was unaware of the pattern and

practice of torture at Area 2 headquarters due to a conspiracy between police, prosecutors and

public officials to conceal such torture practices in order to obtain criminal convictions.

B. EXPERT FORENSIC TESTIMONY OFFERED BY THE STATE AT PLAINTIFF’S
CRIMINAL TRIAL ACTUALLY EXCLUDED MAXSON AS THE PERPETRATOR AND
POINTED TO AN UNIDENTIFIED THIRD PARTY. NOW, AFTER RECENT DNA
TESING HAS BEEN CONDUCTED, THE IDENTITY OF SUCH THIRD PARTY HAS
BEEN ESTABLISHED.

       36. As indicated, except for Maxson’ coerced confession, the State failed to

produce any evidence that Maxson participated in, or was in any way associated with, the

horrible murder of child/victim Lindsey Murdock.

       37. At trial, State Witness and Serologist Therese Ann Finn testified that she examined

blood found on a mirror recovered from the scene and determined that it belonged to child/victim

Lindsey Murdock.

       38. Lindsey’s shirt, Finn testified (which was found in the garage), had bloodstains on it

that matched Lindsey's blood. Further, Finn testified that the shirt also had bloodstains that were

inconsistent with either Lindsey's or Maxson's blood. Blood on Lindsey's hand did not match

that of either Lindsey or Maxson.

       39. At trial, State Witness and Criminalist James Berk testified that he analyzed head and

pubic hair samples taken from Lindsey's clothing and found that they did not match the

characteristics of either Maxson's or Lindsey's hair.

       40. Now, some 25 years later, recent DNA testing has revealed that DNA belonging to

one Osborne Wade was found to be mixed with child/victim Lindsey Murdock’s blood. This

recently identified individual is a convicted murderer, having pled guilty to stabbing another



                                               9!
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 10 of 43 PageID #:10




individual to death approximately two years after Lindsey Murdock’s murder. Further,

investigation has revealed that at the time of Murdock’s stabbing murder, Wade lived in very

close proximity the murder scene, i.e., the garage where young Lindsey’s body was recovered

under a pile of debris.

       41. On September 27, 2016, upon motion by the Cook County State’s Attorney Anita

Alvarez, through her Conviction Integrity Unit, an Order was entered by the Honorable Judge

Thaddeus L.Wilson vacating the judgment of conviction against Maxson and ordering his

immediate release from the Illinois Department of Corrections. See GROUP EXHIBIT A,

STATE’S PETITION FOR RELIEF FROM JUDGMENT and ORDER.

       42. On or about September 27, 2016, Wade was indicted by the Cook County Grand Jury

for the murder of Lindsey Murdock. Wade has given a videotaped confession to the police and

the FBI regarding his commission of said horrible crime for which Maxson was wrongfully

convicted and spent nearly a quarter of a century languishing in prison..

C. MAXSON’S CONSISTENT CLAIMS SINCE THE TIME OF HIS ARREST THAT HIS
CONFESSION WAS FALSE AND COERCED IS SUBSTANTIATED BY NEWLY
DISCOVERED EVIDENCE THAT AREA 2 DETECTIVES WERE ENGAGED IN A
PATTERN AND PRACTICE OF TORTURE SO AS TO EXTRACT FALSE
CONFESSIONS IN MURDER CASES.

       43. The detectives and their supervisors involved in Maxson’s case have long histories of

physically and psychologically abusing suspects by either direct participation and/or silent

acceptance of what they knew or should have known what was occurring at Area 2. Until

recently, however, allegations of such torture were routinely ignored.

       44. Newly discovered evidence gives new meaning to Maxson’ claims and shows a

pattern of abuse that makes the truth of his allegations indisputable.



                                              10
                                              !
     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 11 of 43 PageID #:11




          45. This is especially so given the lack of any other evidence in Maxson’s case; his

refusal to sign the “confession; his attempting to “clear himself” of a horrible murder while

supposedly confessing. These facts are simply bolstered the recent identification of the actual

killer.

          46. While the revelation of the Chicago police torture began in the early 1990s, it is only

within the last few years that the extent of the torture and the identities of many of the offending

officers have been fully explored. This process began in 1990, when the Office of Professional

Standards (“OPS”) for the Chicago Police Department issued two “Special Project Conclusion

Reports,” the “Goldston Report” and the “Sanders Reports”. These reports detailed the

excessive force Chicago police officers inflicted on Andrew Wilson in 1982 and the greater

systematic abuse at Area Two during that time. The Goldston report concluded:

       In the matter of alleged physical abuse, the preponderance of the evidence is that
abuse did occur and that it was systematic. The time span involved covers more than ten years.
The type of abuse described was not limited to the usual beating but went into such esoteric areas
as psychological techniques and planned torture. (emphasis added).

          47. As referenced above, in 1999, U.S. District Judge Milton I. Shadur found that it was

undisputed that Chicago police officers tortured suspects and obtained false confessions around

the time that Maxson was arrested:

          It is now common knowledge that in the early to mid-1980s Chicago Police Commander
          Jon Burge and many officers working under him regularly engaged in the physical
          abuse and torture of prisoners to extract confessions. Both internal police accounts and
          numerous lawsuits and appeals brought by suspects alleging such abuse substantiate that
          those beatings and other means of torture occurred as an established practice, not just
          on an isolated basis. United States ex rel. Maxwell v. Gilmore, 37 F. Supp. 2d 1078,
          1094 (N.D. Ill. 1999). (emphasis added).




                                                11
                                                !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 12 of 43 PageID #:12




       48. In response to mounting public outcry and a petition requesting an investigation into

the many allegations of torture, Paul Biebel, the Presiding Judge of the Criminal Division of

Cook County Circuit Court, launched an investigation in 2002 into the many claims of torture at

the hands of Chicago police officers.

       49. Judge Biebel appointed Edward J. Egan and James D. Boyle as Special Prosecutors to

investigate allegations of torture, perjury, obstruction of justice, conspiracy to obstruct justice,

and other offenses by the Chicago police officers under the command of Burge at Area Two and

Area Three Headquarters in Chicago, beginning in 1973.

       50. The resulting Report, released in 2006, highlighted a large number of torture claims

and identified many officers, who were accused of physical and psychological abuse of

individual in police custody.

       51. Maxson has consistently maintained that the detectives in his case physically and

psychologically abused him and coerced him into giving a false confession. The cases below

detail chillingly similar claims of abuse leveled against all of Maxson’s detectives.

       52. Defendant William Marley has been directly involved in many notorious cases

involving Jon Burge and other Area 2 detectives. See, e.g., People of the State of Illinois v. Aaron

Patterson, 192 Ill.2d 93 (2000);(1986 false confession procured by Marley, Burge, Pienta and

McWeeney, and others. On January 10, 2003, Patterson was granted a gubernatorial pardon

based on innocence by Governor George H. Ryan. In 2007, a federal civil rights suit brought

against the police by Patterson was settled for $5 million.

       53. Marley and Pienta were also involved in the wrongful conviction of Patterson’s co-

defendant, Eric Caine. People of the State of Illinois v. Eric Caine. (People v. Caine, 258 Ill. App.



                                                12
                                                !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 13 of 43 PageID #:13




3d 599). Pienta brought Caine into Patterson's interrogation room and struck Caine in the chest,

warning him that he would get the same treatment as Patterson unless he was "cool." Caine spent

the night locked in an interrogation room at Area Two headquarters.While interrogating Caine

the next day, Madigan, a detective in the case, began describing the murders. For a long period of

time, while Caine remained silent, Madigan repeated key points of the confession that he wanted

Caine to recite. Shortly thereafter, Madigan presented Caine with his notes for Caine to study and

so that he could sign them as his own statement. When Caine refused to sign the false

confession, Madigan struck Caine with a cupped hand on the side of his head. Caine heard a loud

pop and felt a rush of pain. Caine cried out and doubled over in agony, as Madigan tried to quiet

him. The strike to Caine's head ruptured his eardrum. On March 16, 2011, 25 years after his

conviction, the State of Illinois dismissed all charges against Caine and Cook County Circuit

Court Judge William Hooks ordered his release. In July 2013, Caine settled a federal lawsuit

against the Chicago Police Department for $10 million.

       54. In 1990, Defendants Marley, Duffy, Dwyer and fellow longtime Burge subordinate

Pienta were all involved in the Area 2 torture of Shawn Whirl. People v. Whirl, 2015 IL App (1st)

111483. After Duffy and Dwyer interviewed Whirl, they left him in an interview room for Pienta,

who tortured Whirl into a false confession. Pienta slapped Whirl as he repeatedly denied

involvement in the murder. Noticing Whirl had a wound on his leg, Pienta then stepped on

Whirl’s foot and scraped the wound on his leg with a key until a false confession was obtained.

Whirl was granted a new trial in 2015, released shortly thereafter and now has a pending 1983

claim for the torture inflicted upon him.




                                             13
                                             !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 14 of 43 PageID #:14




       55. In People v. Baker, 253 Ill. App. 3d 15 (1st Dist. 1993), the Appellate Court reversed

a murder conviction holding that detectives James Pienta and William Marley, in 1986,

improperly reinitiated contact with a mentally ill defendant after he had invoked his fifth

amendment right to counsel.

       56. In People v. Everett, 228 Ill. App. 3d 1054 (1st Dist. 1992) Everett alleged that during

questioning for a 1987 murder by Detective Defendant John Duffy, he was not allowed to use the

bathroom, drink water or contact his attorney. He claimed that the officers did not allow him to

telephone his attorney because he refused to give a statement. Questioning ceased sometime

between 5 and 6 p.m., and Everett was then taken to lock-up. Defendant alleges that he was not

given any food. He also alleges that he was not allowed to make a telephone call until 1 a.m. the

next morning.

D. THE TORTURE, ARREST, WRONGFUL CONVICTION AND INCARCERATION OF
MARK MAXSON COULD NOT HAVE BEEN ACCOMPLISHED WITHOUT THE
DIRECT ASSISTANCE AND KNOWLEDGE OF A LARGE NUMBER OF UNSUED CO-
CONSPIRATORS WHO FOR DECADES, BY THEIR ACTIONS AND INACTIONS,
RATIFIED THE BEHAVIOR DESCRIBED IN THIS COMPLAINT.

       57. From 1981 through 1989 unsued co-conspirator Richard M. Daley was the State’s

Attorney of Cook County and during that period was responsible for the policies, practices and

customs of that office. From 1989 to 2011, Daley was the Mayor of the City of Chicago and as

such was a chief policymaker for the City of Chicago, its Police Department, City Council, and

Police Board and was and is therefore responsible for the policies, practices, and customs

complained of herein.

       58. From 1982 through August of 1986, unsued co-conspirator Jon Burge was a duly

appointed and sworn Chicago Police Lieutenant and was, the commanding officer of Chicago



                                              14
                                              !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 15 of 43 PageID #:15




Police Area 2 Detective Violent Crimes Unit. In 1988, Burge was appointed Commander of Area

3 Detective Division by Superintendent Leroy Martin and held this assignment until November

of 1991, when he was suspended and, ultimately, fired by the Chicago Police Department for the

torture and abuse of Andrew Wilson. Burge engaged in a pattern and practice of torture and

brutality himself, and also supervised, encouraged, sanctioned, condoned and ratified brutality

and torture by other detectives and supervisors, including, but not limited to Area 2 detectives

named herein. On June 28, 2010, Burge was convicted of perjury and obstruction of justice for

falsely denying that he participated in, was aware of and supervised police torture.

       59. Unsued co-conspirator John Byrne was a duly appointed and sworn Chicago

Police Sergeant in the Chicago Police Area 2 Detective Violent Crimes Unit from 1982 to

August of 1986, and supervisor of the Unit’s notorious midnight shift, also known as the ‘A

Team,” who also worked on the midnight shift of the Area 2 Violent Crimes Unit. Byrne, like

Burge, engaged in a pattern and practice of torture and brutality himself, and also supervised,

encouraged, sanctioned, condoned and ratified brutality and torture by other detectives.

       60. In 1983 and early 1984 , unsued co-conspirator Leroy Martin was the Commander of

Area 2 and Jon Burge’s direct supervisor, and from 1987 to 1992, he was the Superintendent of

Police for the City of Chicago, and as Superintendent was responsible for the policies, practices,

and customs complained of herein.

       61. From 1990 to 1998, unsued co-conspirator Gayle Shines was the Director of the

Office of Professional Standards of the Chicago Police Department, appointed by Mayor Richard

M. Daley. As such, she implemented the policies, practices and customs of the CPD with regard

to discipline. Her direct supervisor was the Chicago Police Superintendent.



                                              15
                                              !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 16 of 43 PageID #:16




       62. From 1998 to 2004, unsued co-conspirator Terry Hillard was the Superintendent of

Police for the City of Chicago, and as such was responsible for the policies, practices, and

customs complained of herein.

       63. From 1998 to 2002, unsued co-conspirator Thomas Needham was counsel to, and

administrative assistant for, Superintendent Terry Hillard, who was his direct supervisor, and, as

such, implemented the policies, practices and customs alleged herein.

       64. In February 1982, the Superintendent of the Chicago Police Department, Richard

Brzeczek, and the Mayor of the City of Chicago, Jane Byrne, placed Defendant Burge in charge

of a manhunt for the killers of two white Chicago Police officers. In the course of that manhunt,

Burge and other Area 2 detectives tortured a number of African-American citizens, including

Donald White, Anthony Williams, Lamont White, Walter White, Roy Brown, Walter Johnson,

Paul Mike, Alphonso Pinex, and Larry Milan, and abused and terrorized a large number of other

African-American citizens.

       65. In the early morning hours of February 14, 1982, Burge and numerous Area 2

detectives, arrested Andrew Wilson for the police officer murders.That morning and throughout

that day, Burge and other Area 2 detectives tortured Wilson, using the following techniques,

among others: electric-shocking on the genitals, ears, and other parts of the body with a black

electric shock box and a plug in electrical device; suffocating with a plastic bag; burning on a

radiator; and beating. States Attorney Daley, the then Mayor of the City of Chicago Jane Byrne,

and the then Superintendent of the Chicago Police all closely monitored developments in the

manhunt. All three learned from numerous sources about the widespread abuse during the

manhunt, including the torture and abuse of Andrew Wilson and his brother Jackie Wilson, and



                                              16
                                              !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 17 of 43 PageID #:17




did nothing to prevent or stop that torture and abuse or to discipline, investigate, or otherwise

bring to justice Burge and the other detectives who perpetrated it.

       66. As a direct and proximate result of the failure of Daley, Leroy Martin and their

successors to intervene, to discipline and to adequately supervise, Burge and other Area 2

Detectives tortured numerous additional almost exclusively African American suspects

with electric shock, baggings, mock executions, and beatings, often while using racial epithets, in

the period from February of 1982 to April of 1990. The victims in this period included the

following men: Shadeed Mumin, Michael Johnson, Lee Holmes, Rodney Benson, Stanley Wrice,

Bobby Joe Williams, Eric Smith, Alonzo Smith, James Andrews, Reginald Mahaffey, Jerry

Mahaffey, Gregory Banks, David Bates, Darrell Cannon, Lee Norah, Leonard Hinton, Eric

Smith, Leroy Orange, Leonard Kidd, Philip Adkins, James Billingsley, Stanley Howard, Dwight

Cavin, Alphonso Pinex, Thomas Craft, Lavert Jones, Alex Moore, Terry Harris, Lonza Holmes,

Mearon Diggins, Michael Tillman, Stephen Bell, Eric Caine, Aaron Patterson, Darrell Cleveland,

Terrence Houston, David Randle, Richard Terrell, Andrew Maxwell, Jerry Thompson, Donald

Torrence, Madison Hobley, Jeffrey Howard, Curtis Milsap and Ricardo Rodriguez.

       67. Defendant detectives in Plaintiff Maxson’s case concealed from Plaintiff and his

counsel, the trial, appellate and post-conviction prosecutors, and the judges in Plaintiff’s criminal

proceeding, all of the facts regarding this extensive pattern of abuse and torture of African

American men. Defendant detectives also concealed the physical implements of the pattern and

practice of torture, including cattle prods, electric shock box, plug-in electrical device, plastic

bags, typewriter covers, blackjacks, rubber truncheons, telephone books, shotguns and handguns




                                               17
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     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 18 of 43 PageID #:18




used by Burge and other Area 2 detectives against numerous other victims of their pattern and

practice of torture.

        68. By no later than February 1982, co-conspirator Daley had direct, personal

knowledge that Defendant Burge and other Area 2 detectives committed acts of torture against

African American suspects at Area 2. During the February 1982 manhunt described above, Daley

closely monitored events, receiving regular reports from subordinates who, at various times,

were at Area 2. Daley therefore knew or should have known of the abuses of African American

citizens that occurred in the course of the manhunt, including, in particular, the abuse of the

White brothers and Anthony Williams, who were placed in protective custody by the Cook

County State’s Attorney’s Office following acts of torture that Burge and his men perpetrated

against them.

        69. Co-conspirator Richard M. Daley was also informed of the arrests of Andrew and

Jackie Wilson on the morning of February 14, 1982. Throughout the day of February 14, as the

Wilsons were tortured (frequently screaming in the course of the abuse), several high ranking

Assistant State’s Attorneys were present at Area 2. An Assistant State’s Attorney assigned as a

supervisor to the Felony Review Unit, Larry Hyman, participated directly in the interrogation of

the Wilsons, which occurred between sessions of torture at the hands of Burge and his men. The

high ranking members of the State’s Attorney’s Office present at Area 2 on February 14, 1982

knew or should have known that the Wilsons were being tortured. Those high ranking assistants

were reporting directly to Daley and to the First Assistant State’s Attorney at the time, Richard

Devine. Neither Daley nor any of his top assistants did anything to halt or prevent the torture of

the Wilsons.



                                              18
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     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 19 of 43 PageID #:19




        70. On or about February 17, 1982, Superintendent Brzeczek received a letter from Dr.

John Raba, the Director of Medical Services at Cook County Jail, informing the Superintendent

that the medical examination of Andrew Wilson revealed unmistakable evidence that Wilson had

been brutalized while in police custody, and that Wilson reported being tortured with electric

shock. In this letter, Dr. Raba demanded an investigation. After conferring with high ranking

police command personnel, the Superintendent wrote a letter to unsued co-conspirator Daley,

enclosing the Raba letter and advising Daley that, in light of the pending prosecution of Wilson,

the Superintendent would not investigate or otherwise pursue the matter without instructions

from Daley.

        71. Co-conspirator Daley received the Brzeczek letter (with its enclosure) and shared and

discussed it with his First Assistant and other high level subordinates. Daley never responded to

the letter.

        72. Daley and his subordinates were fully aware that Superintendent Brzeczek’s letter set

forth criminal conduct by Burge and other Chicago police detectives and officers, and they knew

or should have known that ASA Larry Hyman might be complicit in this criminal conduct. They

also knew that there was physical, medical, and testimonial evidence which supported the claim

of physical abuse.

        73. Not only did Daley fail to instruct the Superintendent of Police to conduct a criminal

and/or administrative investigation, but he also failed to conduct a criminal investigation of his

own, and did not refer the evidence to an independent agency for investigation. Instead, on

information and belief, Daley communicated to Dr. Raba, through Cook County Board President




                                              19
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 20 of 43 PageID #:20




George Dunne, that Raba “should not get involved” in the Wilson case, and subsequently, both

Daley and the Superintendent issued separate public commendations to Burge and his men.

       74. As a direct result of co-conspirator Daley’s refusal to act, the Chicago Police

Department, and its Office of Professional Standards indefinitely suspended all investigations

into the allegations of torture and abuse made against Burge and his men, both by Wilson and

Raba, and by the other African American citizens who were tortured and abused during the

manhunt.

       75. Throughout the manhunt, the arrests first of the White brothers then of the Wilson

brothers, the receipt and discussions of the Brzeczek letter, and the decision not to contact

Brzeczek or to investigate, Daley and his subordinates, on information and belief, generated

memoranda, notes, and other written communications documenting these events and decisions.

       76. This documentation, including the original copy of the Brzeczek letter, which

contained a received stamp from Daley, no longer exists, and, on further information and belief,

was destroyed by Daley.

       77. In the period of time between the Wilsons’ torture, in February 1982, and when Daley

left the Cook County State’s Attorney’s Office in December of 1988, Cook County prosecutors,

under Daley’s direction, prosecuted at least thirty African American men who were tortured by

Defendant Marley and co-conspirators Burge, Byrne, and other detectives under Burge and

Byrne’s command and supervision. In none of these cases did Daley or his subordinates disclose

specific exculpatory information within the possession of the office regarding the torture of

Andrew Wilson and the specific knowledge of Daley and his high ranking subordinates as to the




                                              20
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     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 21 of 43 PageID #:21




truth of Wilson’s allegations. In none of these cases did Daley request or pursue an investigation

into the allegations of torture.

        78. Daley had direct, personal knowledge of the claim of torture in a substantial

number of the torture cases that the Cook County State’s Attorney’s Office prosecuted during this

period of time. There is no more grave and important decision made by the State’s Attorney of

Cook County than the decision to seek the death penalty against an accused defendant. Each and

every such decision was made personally by the State’s Attorney himself after careful review of

the case and full consultation with both his high command and the line assistants handling the

prosecution.

        79. Subsequent to seeking and obtaining the death penalty in Andrew Wilson’s case,

Daley personally decided to seek the death penalty against Darrell Cannon, Leroy Orange,

Leonard Kidd, Stanley Howard, Aaron Patterson, Reginald Mahaffey, Jerry Mahaffey, Michael

Tillman, and Steven Bell,—all of whom claimed that they were tortured by Area 2 Lieutenant

Burge, Midnight Sergeant John Byrne, Defendant Marley, and/or other Area 2 personnel. On

information and belief, Daley’s personal review of these cases revealed to him that each of these

African American men claimed to have been tortured by Burge, Byrne and/or other Area 2

personnel, in some cases using techniques identical or very similar to those Daley knew had been

used against Andrew Wilson. Knowing that these individuals all credibly claimed that they had

been tortured into confessing, Daley nonetheless decided to seek the ultimate punishment against

each of them, in each case declining to pursue any investigation of the involved Area 2 officers

and deliberately failing to disclose the exculpatory information in his personal possession and in

possession of the Office of the Cook County State’s Attorney.



                                              21
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 22 of 43 PageID #:22




       80. At the time Daley reviewed the cases set forth in paragraph 79 above and decided to

seek the death penalty in each of those cases he (a) had near-certain personal knowledge that

Andrew Wilson had been tortured and that numerous other African Americans had been tortured,

abused, and terrorized by Burge and his men during the Wilson manhunt; (b) had personal

knowledge that Burge and his Area 2 detectives were continuing to practice extreme physical

abuse and torture against African American suspects; and (c) personally knew of exculpatory

information regarding the pattern of torture, which he had deliberately concealed since February

1982. Daley nonetheless decided to seek the ultimate punishment against these African American

men without pursuing any investigation of their allegations and deliberately failing to disclose

the exculpatory information in his personal possession and in possession of the Office of the

Cook County State’s Attorney.

       81. Leroy Martin was the Commander of Area 2 in 1983 and early 1984, and was

Burge’s direct supervisor. At that time, Martin learned that his Violent Crimes Lieutenant Jon

Burge, his Midnight Sergeant John Byrne, and detectives under their command, systematically

tortured and abused numerous African American suspects, including Andrew and Jackie Wilson,

Eric Smith, Alonzo Smith, James Andrews, Jerry Mahaffey, Reginald Mahaffey, Gregory Banks,

David Bates, Darrell Cannon, James Cody and Leonard Hinton. Martin failed to initiate

appropriate investigations or to discipline Burge, Byrne, Marley, or any other Area 2 officers in

connection with any of these cases.

       82. In 1987, Martin was named Superintendent of the Chicago Police Department.

As Superintendent, possessing direct knowledge of Burge’s practices from his time as Area 2

Commander, Martin continued to fail to intervene, to supervise, discipline or otherwise act to



                                              22
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 23 of 43 PageID #:23




prevent the ongoing misconduct of Burge and his men. Following Plaintiff’s torture and

wrongful conviction, Martin worked actively to conceal and suppress evidence of the pattern of

torture, as is fully alleged below.

        83. Following his arrest in 1992 and his conviction in 1994, Plaintiff languished in prison

until 2016, when he was exonerated after DNA testing revealed the identity of the actual

murderer.

        84. Plaintiff’s exoneration was delayed and his imprisonment and wrongful conviction

lasted far longer than it otherwise would have because, for many years, Daley, Martin, Hillard,

Needham and Shines, in conspiracy amongst themselves and with others, including Defendants

Marley, Pesavento, Dwyer and Duffy and co-conspirators Burge, Byrne, their police

confederates, and successive Police Superintendents and police command personnel, continued

to make extraordinary efforts to suppress, conceal and discredit exculpatory evidence regarding

the pattern of torture and physical abuse of African American men by Chicago Police detectives

under Burge’s command.

        85. In 1989, co-conspirator Daley became the Mayor of the City of Chicago. In that

capacity he was directly responsible for the appointment of the Superintendent of the Chicago

Police Department. Daley also had ultimate responsibility for the operations of the Police

Department. Daley therefore had the duty to take all necessary steps to ensure that the

Department and its officers disclosed exculpatory information to all victims of co-conspirators

Burge, Byrne, and their Area 2 confederates, including Defendant Marley. In addition, Daley had

an ongoing duty to disclose exculpatory information to Plaintiff and other Burge victims of

which Daley had become personally aware while he was State’s Attorney of Cook County.



                                              23
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 24 of 43 PageID #:24




       86. Co-conspirator Daley, while Mayor 1) did not disclose exculpatory information in his

possession at any time from the date he resigned as State’s Attorney of Cook County, until he left

the Mayor’s office in 2011; 2) did not intervene at any time to direct the Chicago Police

Department to disclose exculpatory information in its possession regarding Burge; and 3) did not

direct the CPD to conduct a thorough and aggressive investigation of Burge, Byrne, Marley, and

the other detectives who abused African American men while working under Burge’s command.

       87. Rather than disclose exculpatory material and conduct appropriate investigations, co-

conspirators Daley, Martin, Hillard, Needham, Shines and other co-conspirators caused the

Chicago Police Department to actively conceal and suppress information regarding the scope and

extent of the torture and abuse of African American suspects that occurred under Burge. Their

actions in this regard included, but are not limited to those alleged above and below.

       88. In 1990 a report was prepared by Chicago Police OPS investigator Michael Goldston,

which found that there was systematic abuse of suspects held in custody at Area 2 and that Area

2 command personnel were aware of the systematic abuse, and encouraged it, by actively

participating or failing to take action to stop it. In 1991, the Goldston Report was supplemented

with a finding that Burge, Byrne, and several other Area 2 detectives were prime movers in this

pattern of abuse, and that Burge and two of his subordinates had tortured Andrew Wilson.

       89. In a companion Report, the “Sanders Report”, the OPS found that Burge and these

same two subordinates tortured Andrew Wilson and recommended that they be fired.

       90. Co-conspirator Martin and other police command personnel delayed, obstructed, and

otherwise undermined the OPS investigation, the Goldston Report, and its findings and

conclusions set forth above, inter alia, by suppressing the findings that Wilson was tortured and



                                              24
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     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 25 of 43 PageID #:25




by refusing to suspend, transfer or remove Burge either before, or for nearly a year after, the

Goldston Report’s findings were first made known to them in November of 1990.

        91. Martin and other command personnel further delayed, obstructed, and otherwise

undermined the OPS investigation, the Goldston Report, and its findings and conclusions set

forth above, inter alia, by suppressing the findings that there was systematic abuse at Area 2,

which implicated Martin, Burge, Byrne, and other Area 2 detectives who worked under Burge’s

command.

        92. The Goldston Report and its findings were not publicly released until February 7,

1992, when Federal District Judge Milton I. Shadur ordered the Report’s release.

        93. On or before February 7, 1992, Mayor Daley was specifically informed or was

otherwise aware of the Goldston Report findings of “systematic” Area 2 torture that was

“condoned and participated in” by Area 2 command personnel. Daley knew or should have

known that Martin had been the commanding officer at Area 2 and Burge’s direct supervisor

during part of the time the Goldston Report found there to be “systematic” torture, and that

Martin therefore had a motive and the intent to suppress and discredit the Goldston Report and

its findings.

        94. Despite this and all that he previously knew about torture by Burge and his men, and

despite the findings of the Goldston Report itself, Daley: 1) did not seek an independent federal

investigation; 2) direct Martin to initiate a criminal investigation or to open disciplinary

proceedings against the Area 2 detectives, supervisors and command officers identified in the

Goldston Report; or 3) seek the prosecution of Burge and his confederates.

        95. Instead, in a joint effort with Superintendent Martin, Mayor Daley sought to



                                               25
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     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 26 of 43 PageID #:26




publicly discredit the Goldston Report and defend Martin’s prior suppression of it, saying “these

are only allegations . . . rumors, stories, things like that.” The intent and effect of these

statements was, inter alia, to undermine the accuracy and validity of the Goldston Report’s

finding that the torture at Area 2 was “systematic” and participated in by command personnel.

        96. Even after learning of the findings in the Goldston Report, Martin, OPS Director

Gayle Shines, and other command personnel, in violation of police regulations, refused to

investigate numerous other allegations of police torture that were brought to their attention,

including allegations of electric shock and abuse previously made by electric shock victim

Melvin Jones against Defendant Burge.

        97. From 1989 to 1992, Daley and Martin, and their command subordinates, through

several public hearings held by the Chicago City Council and the Chicago Police Board, and a

report by Amnesty International, were given additional actual notice that Burge was the leader of

a group of Chicago detectives that systematically tortured and abused African American suspects

in order to obtain confessions in murder and other serious felony cases.

        98. In January of 1992, Martin admitted in a publicly filed pleading that an

“astounding pattern or plan” on the part of Burge and his confederates “to torture certain

suspects, often with substantial criminal records, into confessing to crimes.”

        99. In February 1993, the Chicago Police Board fired Burge for torturing Andrew

Wilson. These findings became final in December 1995.

        100. In 1993, the OPS re-opened investigations into approximately ten Area 2 torture

cases. After an exhaustive re-investigation, which uncovered substantial new evidence in support

of the allegations, OPS investigator Veronica Tillman sustained numerous allegations that



                                                26
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 27 of 43 PageID #:27




Sergeant Byrne and Area 2 Detective Peter Dignan racially abused and tortured Darrell Cannon

with the cattle prod. OPS supervisor Carmen Christia reviewed the findings and approved them.

       101. The OPS also entered sustained findings of torture and abuse against Byrne and

Dignan in five other re-opened cases, including that of Gregory Banks and Stanley Howard.

       102. From 1993 until 1998, co-conspirator Shines (who had previously been appointed by

Mayor Daley) under pressure from her fellow co-conspirators, suppressed these findings and the

evidence which supported them by secreting the files in her personal office.

       103. In 1998, co-conspirator Superintendent Terry Hillard and his administrative

assistant Thomas Needham, with full knowledge that Area 2 detectives had participated in a

pattern and practice of torture and abuse of suspects, including Plaintiff, violated police

regulations and obstructed justice by overturning the OPS sustained findings in the six re-opened

cases set forth above; by refusing to investigate other torture victims’ claims that they had been

tortured; by refusing to investigate OPS Director Shines’ suppression of evidence; and by

suppressing these OPS files and findings from Plaintiff and other criminal defendants.

       104. On information and belief, Daley also personally insisted, from the time he

became Mayor in 1989 until he was succeeded in 2011, that the City of Chicago continue to

finance the defense of Burge, Byrne and their accused colleagues and subordinates, despite his

personal knowledge that they had committed acts of torture against African American men while

employed as Chicago Police officers and/or supervised and condoned such acts. Daley’s

insistence on defending Burge was contrary to the recommendation of Daley’s senior staff that

the City sue rather than defend Burge, and continued throughout Daley’s tenure as Mayor,




                                               27
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 28 of 43 PageID #:28




despite Burge’s indictment in October of 2008 for perjury and obstruction of justice, and his

conviction on these charges on June 28, 2010.

E. PLAINTIFF’S CONVICTION WAS OBTAINED AND HIS ULTIMATE
EXONERATION WAS DELAYED FOR DECADES DUE TO THE CONDUCT
DESCRIBED IN THIS COMPLAINT.

       105. The concealment, obstruction and suppression of exculpatory information and

continuing failure to investigate or discipline described above materially and significantly

continued the wrongful conviction of Plaintiff, substantially delayed Plaintiff’s exoneration, and

caused Plaintiff to face many additional years of unjust incarceration that he would not have

endured if the obstruction, suppression and concealment had not occurred.

       106. On September 27, 2016, the prosecution dismissed all charges against Plaintiff in a

manner indicative of innocence, and on that very same date, Plaintiff was released from prison.

F. THE MISCONDUCT OF THE DEFENDANTS NAMED HEREIN WAS COMMITTED
IN THE FURTHERANCE OF A CONSPIRACY TO TORTURE AFRICAN AMERICAN
CITIZENS IN THE CITY OF CHICAGO AND TO GO TO GREAT LENGTHS TO
CONCEAL SUCH CRIMINAL CONDUCT.


       107. Defendants Dwyer, Duffy, Marley and Pesavento, acting jointly and with other

police and prosecutorial investigative, supervisory, and command personnel, including those

specifically named as co-conspirators in this complaint, together reached an understanding,

engaged in an ongoing course of conduct and joint action and otherwise conspired and continue

to conspire among and between themselves to deprive Plaintiff of his constitutional rights. This

conspiracy is evidenced, inter alia, by the overt acts set forth above and below, and has

continued to the present, as evidenced, inter alia, by the false testimony and statements denying

torture given by these Defendants and their fellow officers; false statements and testimony



                                              28
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 29 of 43 PageID #:29




Burge, co-conspirator and former Area 2 detective Michael McDermott, and various other police

and assistant state’s attorney co-conspirators gave to the FBI, before the Federal Grand Jury, and/

or at trial in U.S. v. Jon Burge; and by false public statements concerning police torture made by,

inter alia, coconspirators Daley, Burge, Byrne and Richard Devine, including those made in July

of 2006 in response to the Special Prosecutor’s Report, in October of 2008 in response to Burge’s

indictment, and in June of 2010 in response to Burge’s conviction, and in 2015 in response to the

passing by the Chicago City Council of the Reparations Ordinance.

        108. By and through the aforementioned overt acts, together with those set forth above,

each and every defendant and co-conspirator jointly and in conspiracy, with a shared

understanding, intent, and/or meeting of the minds, deprived and continues to deprive Plaintiff of

his constitutional rights, including his right to be free from unreasonable arrest, seizure, wrongful

confinement and imprisonment and the excessive use of force; his right to be free from

involuntary self-incrimination and from interrogation techniques that “shock the conscience;” his

right to access to the courts and to a fair and impartial trial; and his right to equal protection of

the law, all as protected by the First, Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendments to

the United States Constitution.

G. PLAINTIFF HAS SUFFERED IMMEASURABLE DAMAGES AT THE HANDS OF
THE NAMED AND UNNAMED DEFENDANTS WHO CONTRIBUTED TO HIS
WRONGFUL INCARCERATION FOR A QUARTER OF A CENTURY.

        109. Plaintiff spent 24 years in prison for a crime he did not commit. This time was

emotionally, physically, and psychologically dehumanizing and debilitating and can not be given

back to him. Plaintiff has suffered from constant fear and anxiety, deep depression, despair, rage,

boredom and loneliness. Plaintiff has suffered numerous beatings and 24 years of hatred and



                                                29
                                                !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 30 of 43 PageID #:30




derision from other inmates after being wrongfully labeled by defendants as a child rapist and

killer. Plaintiff also suffered from the loss of sustained contact with members of his family, and

was prevented from holding gainful employment or pursuing educational opportunities outside

of the penitentiary walls. He continues to live under the effects of his isolation, incarceration, and

depression, and until his exoneration, under the stigma of his wrongful conviction. Additionally,

Plaintiff suffered and continues to suffer, egregious pain and suffering, humiliation, constant fear,

anxiety, deep depression, despair, rage, and post traumatic stress disorder from his torture and

abuse.

                                        COUNT I

(42 U.S.C. § 1983 Claim for Deprivation of a Fair Trial and Wrongful Conviction)

         110. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

         111. In the manner set forth more fully below, Defendants Dwyer, Duffy, Marley and

Pesavento, individually, jointly, and in conspiracy with each other and the other named and

unsued co-conspirators, caused the wrongful charging, prosecution, conviction, and

imprisonment of Plaintiff and the continuation of that wrongful conviction.

         112. These Defendants caused and/or continued Plaintiff’s wrongful charging,

prosecution, conviction and imprisonment by committing or causing to be committed one or

more of the following acts: physically coercing, constructing and/or fabricating the false and

totally unreliable statements and admissions which formed the basis for Plaintiff’s prosecution

and conviction; by withholding from the prosecutors, judges and defense attorneys involved in

Plaintiff’s prosecution the fact that these statements and admissions were false, totally unreliable,

constructed, fabricated and coerced; by suppressing, destroying and preventing the discovery and



                                                 30
                                                 !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 31 of 43 PageID #:31




development of additional exculpatory torture findings and other evidence, including, but not

limited to, other acts of torture and abuse that they participated in, the instruments of torture, as

well as other exculpatory evidence; by giving a false and incomplete version of events to

prosecutors; by writing false reports and giving false testimony; by obstructing and improperly

influencing investigations which would have led to discovery of further exculpatory evidence; by

suppressing and attempting to discredit findings of individual and systematic torture and abuse;

and by the additional wrongdoing set forth above, thereby unconstitutionally depriving Plaintiff

of his liberty and violating his right not to be wrongfully convicted, as guaranteed by the U.S.

Constitution.

       113. Additionally and/or alternatively, Defendants Dwyer, Duffy, Marley and Pesavento

failed to intervene to stop Plaintiff’s wrongful prosecution and conviction and resultant

imprisonment despite having the opportunity and duty to do so.

       114. The actions and inactions of Defendants Dwyer, Duffy, Marley and Pesavento in

depriving Plaintiff of his right not to be wrongfully charged, convicted and imprisoned, and,

additionally and/or alternatively, in failing to intervene to stop said violations, were the direct

and proximate cause of the injuries to Plaintiff which are set forth above.

       115. Additionally and alternatively, these actions were taken maliciously, willfully,

wantonly and/or with reckless disregard for Plaintiff’s constitutional rights.

       WHEREFORE, Plaintiff demands judgment against Defendants Dwyer, Duffy, Marley

and Pesavento for a sum of thirty-six million dollars in compensatory damages and eighteen

million dollars in punitive damages, plus the costs of this action, attorneys' fees and such other

relief as this Court deems equitable and just.



                                                 31
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 32 of 43 PageID #:32




                                       COUNT II

               (42 U.S.C. § 1983 Claim for Coercive Interrogation)

       116. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

       117. The actions of Defendants Dwyer, Duffy, Marley and Pesavento, individually,

jointly, and in conspiracy with each other and with unsued co-conspirator Jon Burge, in

coercively interrogating Plaintiff, and in using torture techniques which “shock the conscience”

during said interrogations, resulted in false, coerced, and fabricated admissions that were

subsequently used against him in his criminal proceedings, and thereby violated Plaintiff’s Fifth

and Fourteenth Amendment rights to be free from compulsory self-incrimination and deprivation

of liberty without due process of law.

       118. Additionally and alternatively, these actions were taken maliciously, willfully,

wantonly and/or with reckless disregard for Plaintiff’s constitutional rights.

       119. The actions of Defendants Dwyer, Duffy, Marley and Pesavento and co-conspirator

Burge, in using torture and other coercive techniques to interrogate Plaintiff, and/or in devising,

encouraging, facilitating, condoning and permitting the use of said techniques, and failing to

intervene to stop the coercive interrogation of Plaintiff, were the direct and proximate cause of

Plaintiff’s injuries and damages as more fully set forth above.

       WHEREFORE, Plaintiff demands judgment against Defendants Dwyer, Duffy, Marley

and Pesavento for thirty-six million dollars in compensatory damages and eighteen million

dollars in punitive damages, plus the costs of this action, attorneys' fees and such other relief as

this Court deems equitable and just.




                                               32
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 33 of 43 PageID #:33




                                    COUNT III

                   (42 U.S.C. §§ 1985, 1986 Claim for Conspiracy)

        120. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

        121. Defendants Dwyer, Duffy, Marley and Pesavento, together with the named and other

unsued coconspirators, including police and prosecutorial investigative, supervisory, and

command personnel, together reached an understanding, engaged and continue to engage in a

course of conduct, and otherwise jointly acted and/or conspired among and between themselves

to commit the unconstitutional overt acts set forth in the facts above.

        122. Because said conspiracy or conspiracies and the overt actions in furtherance

thereof were done and continue to be done with the knowledge and purpose of depriving

Plaintiff, who is African American, and numerous other African American torture victims of the

equal protection of the laws and/or of equal privilege and immunities under the law, and with

racial animus toward the Plaintiff and the other victims of this racially motivated conspiracy, the

Defendants also deprived Plaintiff of his right to equal protection of the laws under the

Fourteenth Amendment, and 42 U.S.C. § 1985.

        123. Additionally and alternatively, these actions were taken maliciously, willfully,

wantonly and/or with reckless disregard for Plaintiff’s constitutional rights.

        124. Additionally or alternatively, Defendants Dwyer, Duffy, Marley and Pesavento,

knowing that the above § 1985 conspiracy to torture and wrongfully convict Plaintiff was about

to be committed, and having the power to prevent or aid in preventing the commission of the acts

in furtherance of said conspiracy, neglected and/or refused so to do, in violation of 42 U.S.C. §

1986.



                                                33
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     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 34 of 43 PageID #:34




        WHEREFORE, Plaintiff demands thirty-six million dollars in compensatory damages

and eighteen million dollars in punitive damages, jointly and severally, from Defendants Dwyer,

Duffy, Marley and Pesavento, plus attorneys’ fees, the costs of this action and whatever

additional relief this Court deems equitable and just,

                                       COUNT IV

                (42 U.S.C. § 1983 Monell Policy Claim Against the City of Chicago)

        125. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

        126. The actions of Defendants Dwyer, Duffy, Marley and Pesavento as alleged above

were committed pursuant to one or more interrelated de facto policies, practices and/or customs

of the Defendant City of Chicago.

        127. At all times material to this complaint, the Defendant City of Chicago through its

Police Department, Police Superintendents, Police Board, Mayors, City Council and/or

Corporation Counsel’s Office had interrelated de facto policies, practices, and customs which

included, inter alia:

a. conducting physically, psychologically or otherwise illegal or improperly

coercive interrogations of witnesses, suspects and arrestees in order to obtain

confessions and wrongful convictions, particularly the use of torture techniques

under the command and supervision of Leroy Martin, Jon Burge and John Byrne

at Area 2;

b. the filing of false reports, and giving false statements and testimony about said

interrogations and confessions and fabricating or constructing parts or all of said

confessions, suppressing evidence concerning said interrogations and confessions,



                                                34
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 35 of 43 PageID #:35




pursuing and obtaining wrongful prosecutions and false imprisonments on the

basis of confessions obtained during said interrogations, denying suspects their

right to full and fair access to the courts, and otherwise covering up the true nature

of said interrogations and confessions particularly in circumstances where torture

techniques were used by Area 2 detectives;

c. the failure to video and/or audio tape the interrogation or questioning of suspects, arrestees,

and witnesses, particularly in the circumstances set forth in a-b above;

d. the failure to properly train, supervise, discipline, transfer, monitor, counsel

and/or otherwise control police officers, particularly those who were repeatedly

accused of torture and related abuse of suspects; of false arrests, wrongful

imprisonments, malicious prosecutions and wrongful convictions; of making false

reports and statements; and/or of physically, psychologically or otherwise

illegally or improperly coercively questioning or interrogating witnesses, suspects

and arrestees, particularly persons who were tortured and or physically and/or

psychologically abused during questioning. This failure to properly train,

supervise, discipline, transfer, monitor, counsel and/or otherwise control Area 2 and 3

detectives who were repeatedly accused of torturing and physically abusing

suspects;

e. the police code of silence, specifically in cases where officers engaged in the

violations articulated in paragraphs a-d above (i.e., police torture and other

unconstitutional and coercive interrogations at Area 2) whereby police officers

refused to report or otherwise covered-up instances of police misconduct, and/or



                                                35
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 36 of 43 PageID #:36




fabricated, suppressed and destroyed evidence of which they were aware, despite

their obligation under the law and police regulations to so report. Said code of

silence also includes police officers either remaining silent or giving false and

misleading information during official investigations and Grand Jury proceedings

in order to protect themselves and/or fellow officers from internal discipline, civil

liability, or criminal charges, and perjuring themselves in criminal and civil cases

where they and/or their fellow officers have tortured or coercively or otherwise

unconstitutionally interrogated a suspect, arrestee or witness, or falsely arrested,

imprisoned and prosecuted a criminal defendant, particularly in cases where

torture techniques at Area 2 were employed. An egregious example of this code of

silence in the torture cases is evidenced and was invoked in response to the

Government’s investigation and prosecution of Jon Burge and the investigation of

other Area 2 officers under his command and supervision;

f. covering up and suppressing evidence and findings, refusing to properly

investigate, arrest and charge, continuing to finance the defense of Jon Burge, and other Area 2

detectives and otherwise attempting to both publicly and judicially defend their actions even

after Burge had been indicted and convicted for lying about these acts, and otherwise obstructing

justice in police torture cases, particularly those that arose at Area 2.

        128. The pattern and practice of torture and abuse at Area 2, the cover-up of that abuse

and the wrongful prosecutions and convictions which resulted therefrom, were well known

within Area 2 well before Plaintiff was tortured and wrongfully convicted, including by the

command officers at Area 2, which included Jon Burge and Leroy Martin, and Burge’s successor,



                                                36
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 37 of 43 PageID #:37




Phil Cline, as well as to former Chicago Mayors Jane Byrne and Richard M. Daley and their

Chiefs of Staff, successive Police Superintendents, including Richard Brzeczek, Fred Rice, Leroy

Martin, Matt Rodriguez, Terry Hillard, and Phil Cline, to the successive OPS Directors,

including Gayle Shines, and Callie Baird, to various Command Personnel, including Deputy

Superintendents McCarthy, Lyons, Hoke and Townsend, to the Chiefs of Detectives, including

William Hanhardt and Terry Hillard, to the Chicago City Council and the Chicago Police Board,

and to other policy making, command, and supervisory City and police personnel, who

participated in the cover-up and suppression of evidence, the wrongful prosecution and

conviction of the Plaintiff and other torture victims, and the denial of their full and fair access to

the courts, inter alia, in the manner set forth in this complaint.

        129. Said interrelated policies, practices and customs, as set forth above, both

individually and together, were maintained and implemented with deliberate indifference; they

encouraged, inter alia, the coercing of statements from suspects, witnesses and arrestees, by

torture and related abusive tactics and techniques, the construction and fabrication of

confessions, admissions, statements, and other false witness evidence, the suppression and

destruction of evidence of torture and other exculpatory evidence, the intimidation of witnesses,

the making of false statements and reports, the giving of false testimony, the obstruction of

justice, the manipulation and obstruction of the State and Federal courts, and the pursuit and

continuation of wrongful convictions and false arrests and imprisonments; and were, separately

and together, a moving force behind, and a direct and proximate cause of, the unconstitutional

acts and perjury committed by the named Defendants and their co-conspirators, and the injuries

suffered by the Plaintiff.



                                                37
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     Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 38 of 43 PageID #:38




       130. Additionally, the City of Chicago’s said failure to properly train, discipline,

monitor, control, assign, transfer, supervise, and counsel Defendants Dwyer, Duffy, Marley and

Pesavento who were involved in numerous other acts of torture and abuse, was also done with

deliberate indifference and likewise acted as a direct and proximate cause of the injuries to

Plaintiff.

       131. Additionally, and/or alternatively, the involvement in, and ratification of,

the unconstitutional actions set forth above, by Chicago governmental and police policymakers,

acting in their official capacities, as set forth in detail in the facts above, including, but not

limited to, successive Police Superintendents, including co-conspirators Leroy Martin and Terry

Hillard, and their direct subordinates, including, but not limited to, Gayle Shines and Thomas

Needham, and several Mayors, most notably Mayor Richard M. Daley, who continued to

publicly both ratify, and deny his involvement in, said conduct until he left office in 2011,

establish that said constitutional violations were directly and proximately caused by the City of

Chicago and its Police Department.

        WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago for

thirty-six million dollars in compensatory damages, plus costs and attorneys’ fees and whatever

additional relief this Court finds equitable and just.

                                        COUNT V

                        (State Law Claim for Malicious Prosecution)

        132. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

        133. Defendants Dwyer, Duffy, Marley and Pesavento individually, jointly, and in

conspiracy, initiated a malicious prosecution without probable cause against Plaintiff, and these



                                                 38
                                                 !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 39 of 43 PageID #:39




same Defendants, individually, jointly, and in conspiracy, continued said prosecution, again

without probable cause. As described above, said prosecution was ultimately terminated in

Plaintiff’s favor and in a manner indicative of his innocence. The Defendants’ actions were done

in a willful and wanton manner, and directly and proximately caused the injury and damage to

Plaintiff set forth above.

        WHEREFORE, Plaintiff demands an award of compensatory damages and punitive

damages against Defendants Dwyer, Duffy, Marley and Pesavento, the costs of this action, and

such other and additional relief as this Court deems equitable and just.

                                    COUNT VI

         (State Law Claim for Intentional Infliction of Emotional Distress)

        134. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

        135. Defendants Dwyer, Duffy, Marley and Pesavento individually, jointly, and in

conspiracy, by, inter alia, torturing false admissions from Plaintiff and/or by failing to prevent or

stop said torture, by constructing and fabricating admissions, and by procuring his prosecution,

conviction, and lengthy imprisonment for a murder he did not commit by means of said false

admissions, engaged in extreme and outrageous conduct. Additionally these same Defendants,

individually, jointly, and in conspiracy with their named co-conspirators, inter alia, by

fabricating, coercing, and suppressing other evidence, by continuing Plaintiff’s false

imprisonment after procuring his wrongful conviction, by refusing to investigate or discipline the

torturers, engaged in additional extreme and outrageous conduct.




                                                39
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 40 of 43 PageID #:40




       136. Defendants Dwyer, Duffy, Marley and Pesavento intended, by subjecting Plaintiff to

such humiliating, degrading conduct, to inflict severe emotional distress on Plaintiff, and knew

that their conduct would cause Plaintiff and his family severe emotional distress.

       137. As a direct and proximate result of Defendants’ outrageous conduct, Plaintiff was,

and continues to be, injured, and has, and continues to, experience severe emotional distress,

including nightmares, sleep disruption, symptoms of post traumatic stress disorder, anxiety,

depression, inability to focus or concentrate, and after 24 years of being subjected to beatings

and ridicule during his incarceration as a wrongfully convicted child molester and killer,

recurring fears and nightmares.

       WHEREFORE, Plaintiff demands judgment against Defendants Dwyer, Duffy, Marley

and Pesavento for compensatory damages, plus the costs of this action, and such other relief as

this Court deems equitable and just.

                                    COUNT VII

                               (State Claim for Conspiracy)

       138. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

       139. Defendants Dwyer, Duffy, Marley and Pesavento, with the named and other unsued

co-conspirators, including police and prosecutorial investigative, supervisory, and command

personnel, together reached an understanding, engaged in, and continue to engage in, a course of

conduct, and otherwise jointly acted and/or conspired among and between themselves to

maliciously prosecute and/or continue said prosecution, and to intentionally inflict continuing

severe emotional distress on Plaintiff.




                                               40
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    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 41 of 43 PageID #:41




       140. In furtherance of this conspiracy or conspiracies, the Defendants named above,

together with their unsued co-conspirators, committed the overt acts set forth in the facts above.

       141. Said conspirac(ies) and overt acts were, and are, continuing in nature.

       142. Defendants’ and their co-conspirators’ overt acts, as set forth above, which were

committed jointly and/or while conspiring together to maliciously prosecute, and intentionally

inflict emotional distress on the Plaintiff, constitute the tort of conspiracy as set forth above.

       WHEREFORE, Plaintiff demands compensatory damages, jointly and severally from

Defendants Dwyer, Duffy, Marley and Pesavento, and, because these Defendants acted in a

malicious, willful and/or wanton manner toward Plaintiff, for punitive damages, plus the costs of

this action and whatever additional relief this Court deems equitable and just.

                                   COUNT VIII

                     (State Law Respondeat Superior Claim)

       143. Plaintiff re-alleges all of the paragraphs set forth in this complaint.

       144. Defendants Dwyer, Duffy, Marley and Pesavento were, at all times material to this

complaint, employees of the Defendant City of Chicago.

       145. Defendant City of Chicago, as principal, is responsible for the acts of its employee/

agents committed in the course of their employment.

       WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago for

substantial compensatory damages, plus costs and attorneys’ fees and whatever additional relief

this Court finds equitable and just.

                                 COUNT IX

(745 ILCS 10/9-102 and Common Law Claims Against the City of Chicago)



                                                41
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      Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 42 of 43 PageID #:42




        146. Plaintiff re-alleges all of the paragraphs set forth in this

complaint.

        147. Defendant City of Chicago was the employer of Defendants Dwyer, Duffy,

Marley and Pesavento at all times relevant and material to this complaint.

        148. These Defendants committed the acts alleged above under color of law and

in the scope of their employment as employees of the City of Chicago.

        WHEREFORE, Plaintiff, pursuant to 745 ILCS § 10/9-102, and otherwise pursuant to

law, demands judgment against the Defendant City of Chicago in the amounts awarded to

Plaintiff against the individual Defendants as damages, attorneys' fees, costs and interest, and for

whatever additional relief this Court deems equitable and just.

Respectfully submitted by,

ELLIOT R. ZINGER, Esq. & LARRY M. DREYFUS, Esq.


By: /s/ Elliot R. Zinger                                        Dated: 9/30/16
    One Of Mark Maxson’s Attorneys


By: /s/ Larry M. Dreyfus                                        Dated: 9/30/16
    One Of Mark Maxson’s Attorneys


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                                                42
                                                !
    Case: 1:16-cv-09417 Document #: 1 Filed: 09/30/16 Page 43 of 43 PageID #:43




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                                      43
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